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                       Exhibit 6
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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                     )
       EXXON MOBIL CORPORATION,                      )
                                                     )
                              Plaintiff,             )
                                                     )
                      v.                             )      Civil Action Nos. H-10-2386 (LHR)
                                                     )                        H-11-1814 (LHR)
       UNITED STATES OF AMERICA,                     )
                                                     )
                              Defendant.             )
                                                     )

                SECOND REBUTTAL DECLARATION OF A.J. GRAVEL

       1.      My name is A. J. Gravel. I am over eighteen (18) years of age and I reside at

11603 Danville Drive, Rockville, MD, 20852. I have personal knowledge of the facts set forth in

this declaration and am competent to testify to them if necessary.

       2.      I am a Senior Managing Director at FTI Consulting, Inc. (“FTI”), a global

business advisory firm, in the Environmental Solutions practice group and lead the Forensic

History and Analysis group. In 1995, I joined a professional historical research company, PHR

Environmental Consultants, Inc. (“PHR”), which became a wholly-owned subsidiary of The IT

Group in 1999. I started at that firm as Vice President and Director of East Coast Operations,

rose to the position of President, and assumed overall responsibility for the firm when its

founders retired in 2001. I joined LECG, LLC (“LECG”) in 2002 along with the historians and

other professionals that supported my work at PHR.          In March 2011, FTI purchased the

environmental practice of LECG. As a result of the purchase, my team and I joined FTI. I have

a B.S. from Springfield College, Springfield, Massachusetts and a Masters of International

Management from the University of Maryland University College, College Park, Maryland. As



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the leader of FTI’s Forensic History and Analysis group and in my work with LECG, The IT

Group and PHR I have provided forensic historical research and environmental cost analysis

services to corporations, joint defense groups, and public sector clients.           My educational

background, work experience, publications and prior testimony are truly and correctly presented

in my resume attached as Attachment 1.

        3.     I have been retained by Exxon Mobil Corporation (“ExxonMobil”) to conduct

historical research, perform related analysis, present opinions and rebut opposing experts

regarding the Federal government’s involvement at the Baytown, Texas, and the Baton Rouge,

Louisiana, refinery and chemical complexes (“Baytown” and “Baton Rouge”). 1 This declaration

summarizes opinions contained in my Expert Report dated June 18, 2012 (filed with my

September 26, 2013 declaration) and my Rebuttal Report dated December 21, 2012 (filed with

my December 20, 2013 declaration). I hereby incorporate both reports by reference into my

sworn declaration.

        4.     In his December 20, 2013 declaration, Dr. James Kittrell makes statements and

draws certain conclusions that are not consistent with the historical record of the operational

integration of the Government-owned Plancors with the refineries. For instance, Dr. Kittrell

states, “In my opinion, the Plancor installations at both Baton Rouge and Baytown were not

significantly integrated into the waste water treatment systems of their respective refineries;” 2

and later, “Exxon offers no evidence that the waste streams associated with…Hydrogenation

Plancor 1868 were commingled with the Baton Rouge refinery’s waste processing system.” 3


1
        For the purposes of this Declaration, the Baytown and Baton Rouge Complexes consist of the
respective petroleum refineries and chemical plants present at those locations during WWII and the
Korean War.
2
        Declaration by Dr. James Kittrell, December 20, 2013, p. 3, ¶ 4
3
        Declaration by Dr. James Kittrell, December 20, 2013, p. 6, ¶ 6e

                                                  2
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        5.     From a historical perspective, the Plancors at Baytown and Baton Rouge were

integrated with their host refineries which provided operating infrastructure such as raw

materials, water, steam and electrical power and process waste treatment and disposal support

facilities. The following examples demonstrate this integration.

        6.     Leaseholds 1 and 2 of Hydrogenation Plancor 1868 were built on Baton Rouge

refinery property, as was Butadiene Conversion Plancor 1355 (RuR SR-123). In my report dated

June 18, 2012, I provide documentation that not only were liquid wastes from Leaseholds 1 and

2 of Plancor 1868 disposed of into the refinery sewers at Baton Rouge, but so were liquid wastes

from Plancor 1355. 4

        7.     Both Plancor 1355 and 1868 were located inside of and were integrated with the

Baton Rouge refinery so completely that they could not operate as independent units. 5 These

Plancors were not only dependent on the refinery for their operating feed stocks, electrical power

and water supplies, but they also used the refinery’s sewer systems for disposal of liquid wastes.

The Defense Plant Corporation (“DPC”) Engineer’s Final Report for Plancor 1355 states that

“effluent water enter[s] the refinery storm sewer and oil sewer systems at several points.” 6

While Dr. Kittrell attempts to minimize the volume and impact of the wastes from Plancor 1355,

he does not dispute that these are process wastes that were “comingled with the Baton Rouge

refineries (sic) existing refinery’s waste processing system.” 7




4
       Report of A.J. Gravel, June 18, 2012, Plancor 1355 see pp. 154-156 and 204; Plancor 1868 pp.
159-162 and 205.
5
       George M. Parsons, “Appraisal – Plancor 1868,” February 13, 1947, pp. 2, 6, 14 [BRC-
00003285]; Synopsis of Engineer’s Final Report – Plancor 1355, April 30, 1944 [BRHIS-00004377 -
4377]
6
       DPC, “Engineer’s Final Report as of April 30, 1944 for Plancor 1355,” p. 5 [BRHIS-00004384]
7
       Declaration by Dr. James Kittrell, December 20, 2013, p. 5, ¶ 5c

                                                  3
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        8.     The DPC Engineer’s Final Report for Plancor 1868 states, “Sewers are connected

to the Lessee’s sewerage system off-site…[s]ystem is of ample capacity for the plant.” 8 Further,

Exhibit A to the Plancor 1868 Lease Agreement details the modifications made to the refinery’s

hydrogenation unit in order to produce xylidine for the War Department. 9 These modifications

included a DPC-owned concrete sump, a slop pump and connecting sewers to convey “slop

containing CS.” The slop was “pumped through a 4” sewer to the 6” sewer extending from the

Hydro site to the Mississippi River.” 10 This 6-inch sewer line was owned by the DPC and

installed within the refinery. 11 While xylidine production at Plancor 1868 was of short duration,

the Plancor facilities were modified in 1944 to produce hydrogenated products used for aviation

gasoline blending. Plancor 1868 continued to operate until the end of WWII.

        9.     Plancors and Federally-owned facilities located within the Baytown Refinery,

such as the Baytown Ordnance Works and Plancor 1909, were similarly integrated with the host

refinery. 12 Plancor 1909 was a hydrogenation unit located within the boundaries of Humble’s

Baytown refinery built for the production of aviation gasoline components by the hydrogenation

of selected polymer and catalytically cracked naphtha. 13 The hydrogen used at Plancor 1909 was

produced by the operation of the Baytown Ordnance Works and Plancor 485, the butadiene

plant. The refinery supplied a portion of the feed stocks processed in the hydrogenation unit as

well as kerosene used as absorber oil and naphthenic gas oil used as purge oil. By-products from



8
       DPC, “Engineer’s Final Report – Plancor 1868,” December 31, 1945, p. 109 [BRHIS-0000198]
9
       “Exhibit A – Plancor 1868 Lease Agreement,” November 3, 1943 [BRHIS-00012654]
10
       “Exhibit A – Plancor 1868 Lease Agreement,” November 3, 1943, p. 20 [BRHIS-00012674]
11
       “Exhibit A – Plancor 1868 Lease Agreement,” November 3, 1943, p. 23 [BRHIS-00012676]
12
       For a discussion of the integration of the Baytown Ordnance Works with the refinery please see
my declaration dated September 26, 2013, ¶ 18
13
       DPC, “Factual Appendix A, Plancor 1909 – Hydrogenation Unit, Baytown, Texas,” January 10,
1945, Schedule I, p. 9, [BAYHIS-00010511; p. 32, General Description [BAYHIS-00010534]

                                                  4
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Plancor 1909, including spent absorber oil, purge oil and bottoms from the distillation of raw

naphtha feed stocks, were purchased by Humble and returned to the refinery for reprocessing. 14

       10.     The use of the Baytown refinery sewers by Plancor 1909 was factored into the

contract fees paid by the Defense Supplies Corporation for the operation of the unit and was

identified as part of the “Refinery Burden” costs. 15 This is confirmed by the DPC Engineer’s

Final Report which states that “[a] 24” main sewer was installed to service this Plancor. The

sewer originates within the unit and terminates approximately 600’ away in the Lessee’s disposal

system.” 16 The connection of Plancor 1909 to the refinery sewers is described in detail by the

DPC Engineer as offsite facilities necessary to the operation of the Plancor,

       “To provide drainage at the Hydrogenation Unit and CO2 Removal Unit and to take care

       of pump drips and overflows from other pieces of equipment, a system of catch basins,

       manholes and sewers were installed. A main trunk sewer was constructed from the North

       limits of the Hydrogenation Unit to an open disposal ditch South of Crosby Street, a

       distance of about 840 feet.” 17

       11.     During the wartime period, the Government implemented a nationwide policy to

regulate and control the allocation of scarce materials. This policy affected all entities desiring

to use these materials for whatever purpose, including refineries like Baytown and Baton


14
        “Bases for Processing Charge = Cost of Petroleum Materials (Other than Raw Feed Stocks), and
Values of By-Products as used in Humble – DSC Contract Covering Operation of Plancor 1909,” no date,
p. 1. [BAYHIS-00024827]
15
        “Bases for Processing Charge = Cost of Petroleum Materials (Other than Raw Feed Stocks), and
Values of By-Products as used in Humble – DSC Contract Covering Operation of Plancor 1909,” no date,
p. 7. [BAYHIS-00024833]
16
        DPC, “Engineer’s Final Report, Plancor 1909,” September 15, 1944, p. 14 [BAYHIS-00010590]
17
        DPC, “Factual Appendix A, Plancor 1909,” January 10, 1945, p. 38. [BAYHIS-00010540] It
should be noted that historical maps and aerial photographs show that the open disposal ditch south of
Crosby Street was the West Ditch which flowed to the Baytown Refinery waste processing and disposal
system during the period of Federal involvement. See also, Map of the Baytown Refinery, Revised
August 2, 1940 [BAYC-00013843]; Aerial Photograph, April 11, 1944 [BAYC-00014086 – 14087]

                                                  5
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Rouge. 18 Further, it required companies to make requests for the allocation of these materials for

a wide range of projects including those related to waste processing and disposal.

        12.     In fact, the history of the construction Hydrogenation Plancor 1868, as recounted

in the DPC Engineer’s reports, illustrates the control exercised by the War Production Board

(“WPB”) over the nation’s construction projects during WWII. As early as October 1941 the

Supplies Priorities and Allocation Board (“SPAB”) 19 prohibited initiation of any non-essential

public or private construction requiring “appreciable quantities of critical materials,” and

announced a general policy that priorities for the procurement of materials would be granted only

to “projects necessary for national defense or essential to the maintenance of public health and

welfare. 20

        13.     The WPB’s construction policies which applied “strict standards…for the

approval of projects based on war essentiality,” had “great influence” on construction efforts at

the nation’s refineries. 21     Even projects that were approved “on the basis of war-time

necessity…may have to be given relatively low priority rankings.” 22 This was true for the

construction of Plancor 1868, which expanded the existing hydrogenation unit. In October 1942,

the Office of the Petroleum Coordinator (“OPC”) 23 requested that Standard Oil of Louisiana

(“SOLA”) expand its existing hydrogenation plant at Baton Rouge using second-hand equipment


18
        John W. Frey and H. Chandler Ide, A History of the Petroleum Administration for War, 1941-
1945, US Government Printing Office, Washington, 1946, pp. 158-168 [MIS-00022528 to 22538]
19
        The SPAB was a predecessor of the WPB.
20
        U.S. Civilian Production Administration, Industrial Mobilization for War: History of the War
Production Board and Predecessor Agencies, 1940-1945, Greenwood Press, New York, 1969 (reprint of
the 1947 edition), pp. 160-161 [MISC-00063850] (included as Attachment 2)
21
        Letter, G. L. Parkhurst, PAW Assistant Director of Refining to C. J. Everett, Director of Refining,
PAW District 1, November 6, 1944, p. 1 [MIS-00008133]
22
        Letter, G. L. Parkhurst, PAW Assistant Director of Refining to C. J. Everett, Director of Refining,
PAW District 1, November 6, 1944, p. 2 [MIS-00008134]
23
        The OPC was a predecessor of the Petroleum Administration for War (“PAW”).

                                                    6
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purchased from the Bayway refinery of Standard Oil Company of New Jersey. 24 This Bayway

equipment, including compressors, pumps, pipe valves and steel buildings, was originally

purchased by Bayway in about 1929 and was about 13 years old when sold to Baton Rouge.

Even though SOLA had managed to obtain the used equipment, it “was handicapped in carrying

out this Hydro expansion due to the fact that priorities were difficult to acquire.” 25 In fact, the

hydro expansion project was “discontinued because of priority ratings” until May 1943 when

priority approvals were finally obtained. In July 1943 the project was transferred to the DPC and

became known as Plancor 1868. 26 Plancor 1868 began production in December 1943. 27

       14.     The PAW was the gate keeper for refinery construction projects and “only

recommended projects…for approval when…the projects clearly qualified under existing

essentiality standards.” 28    The PAW “strip[ped] and screen[ed],” all proposed refinery

construction projects before they were presented to the WPB for allotment of the materials and

assignment of priorities. 29 It was the PAW, implementing the WPB’s essentiality standards,

which ruled against the allocation of the materials necessary for the construction of the Baton




24
       DPC, “Engineer’s Semi-Final Report of DPC – Plancor 1868,” December 15, 1944 [BRHIS-
00000210]
25
       DPC, “Engineer’s Final Report – Plancor 1868,” December 31, 1945, pp. 115-116 [BRHIS-
00000204 - 205]
26
       DPC, “Engineer’s Semi-Final Report of DPC – Plancor 1868,” December 15, 1944 [BRHIS-
00000210]
27
       DPC, “Engineer’s Final Report – Plancor 1868,” December 31, 1945, p. 5 [BRHIS-0000096]
28
       Letter, Ralph K. Davies, Deputy Petroleum Administrator to J. A. Krug, Acting Chairman, WPB,
September 30, 1944, p. 3 [MIS-00008137]
29
       John W. Frey and H. Chandler Ide, A History of the Petroleum Administration for War, 1941-
1945, US Government Printing Office, Washington, 1946, p. 302 [MIS-00022693]

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Rouge master separator in Callaghan’s Bayou deeming the project was “not of sufficient

essentiality to the war program.” 30

       15.     The fact that SOLA was also forced to “discontinue” the construction of the

expanded hydrogenation facilities at Baton Rouge for lack of priority ratings, even when the

expanded facilities had been requested by the OPC for the aviation gasoline program, illustrates

the impact of these WPB policies on refinery construction projects.

       16.     The Federal policy controlling access to scarce materials impacted the Baytown

refinery as well.    For example, in February 1944, Baytown requested PAW assistance in

obtaining the necessary priority ratings to construct facilities to divert effluent from the

Butadiene Plancor 485 “into the main sewer at the applicant’s refinery.” This effluent flowed at

a rate of approximately 30,000 gallons per hour and contained emulsified quench oil. The PAW

recommended that the WPB approve a high priority rating for the project.                 The PAW’s

justification cited the need to reduce the “objectionable quantities of oil…being discharged into

Scott Bay,” and the fact that in the refinery sewer system “the separator is more extensive and

the greater portion of the oil should be recovered.” Further, PAW weighed the benefits of

changing the discharge point for this effluent when making its decision stating, “the main

refinery sewer system discharges into the flowing ship channel instead of the still body of water

in Scott Bay, and in this flowing ship channel the effect of the effluent will be less

objectionable.” 31 When measured in July 1946, the quench oil effluent stream pumped from




30
         J. E. Miller, “Master Separator in Callaghan Bayou,” September 10, 1946, p. 1 [BRHIS-
00014109]; WPB Recommendation for Action, Builder’s Serial No. 131,021, Installation of a new master
oil separator, August 15, 1944 [BRHIS-00006683]
31
         WPB Recommendation for Action, Builder’s Serial No. 6884 (11th Amendment), February 9,
1944, p. 2. [BAYHIS-00012661]

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Butadiene Plancor 485 to the refinery main sewer for disposal flowed at a rate of 740 gallons per

minute (about 44,440 gallons per hour) and contained 3,000 to 5,000 ppm of oil. 32

       17.     PAW correspondence with the WPB further documents that the two Federal

agencies cooperated in controlling refinery construction projects. By September 1944 PAW

reported to the WPB that there was a “tremendous back-log” of refinery construction projects

awaiting approvals. 33 The backlog included requests by Humble Oil for roads at Baytown and

by SOLA for $1,134,312 for “sewers” at the Baton Rouge refinery. Both of these requests PAW

had recommended that the WPB deny “on the basis of present essentiality standards.” 34 The

request to construct “sewers” at Baton Rouge is a reference to SOLA’s request to construct a

master separator in Callaghan’s Bayou which was estimated to cost $1,134,312. 35

       18.     Further, the areas of the Baton Rouge refinery known as the Old Silt Pond

(“OSP”) and the Rice Paddy Land Farm (“RPLF”) were contaminated, at least in part, by

wartime operations. These areas were located within the Shallow Fill Zone, a large portion of

the refinery property located in the batture area adjacent to the Mississippi River. As discussed

in my June 18, 2012 report, 36 historical documentation indicates that wastes generated by

refinery operations during the period of Federal involvement were deposited in the OSP and

RPLF areas.




32
        Sheppard T. Powell, “Report to the Reconstruction Finance Corporation on Industrial Wastes,
RuR SR-10 Butadiene, Baytown, Texas,” July 26, 1946, p. 234 [BAYHIS-00006439]
33
        Letter, Ralph K. Davies, Deputy Petroleum Administrator to J. A. Krug, Acting Chairman, WPB,
September 30, 1944, p. 2 [MIS-00008136]
34
        Letter, Ralph K. Davies, Deputy Petroleum Administrator to J. A. Krug, Acting Chairman, WPB,
September 30, 1944, attachment Table 1 , p. 3 [MIS-00008143]
35
        WPB Recommendation for Action, Builder’s Serial No. 131,021, Installation of a new master oil
separator, August 15, 1944 [BRHIS-00006683]
36
        Report of A.J. Gravel, June 18, 2012, pp. 214-216.

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       19.     First, refinery operations from the late 1930s until 1945 generated a considerable

volume of waste waters containing oily silt that was ultimately discharged in Callaghan’s Bayou,

which was located in the batture area. Mississippi River water, which contained high levels of

silt, was used as cooling water and generated process waste waters containing oily silt that was

discharged to the refinery process sewers and passed through the refinery oil/water separators.

Although a large portion of the oily silt was carried into the river, some material would have

settled in the OSP area. Use of Mississippi River water for cooling ceased in the early 1970s.

       20.     Second, a silt treating unit was installed at the refinery in 1945 that treated the silt

pumped from the refinery separators.        After treatment to remove most, but not all of the

entrained oil, the silt slurry was deposited into the OSP area.

       21.     Third, to support the use and expansion of the 20-acre silt pond, levees were

constructed on the north and west sides of the OSP to a height of approximately 50 feet. In

addition, materials including refinery debris – which was generated at least in part during the

period of federal involvement – were used to raise the levee and construct a road on the south

side of the OSP. Finally, a waste burn pit located within the boundary of the OSP was relocated

to allow for levee and road construction.

       22.     Fourth, a portion of the wastes entering these units were generated by Federally-

owned production units located at Baton Rouge including Plancors 1355 (butadiene conversion),

152 (butadiene) and 572 (butyl rubber).

       23.     Fifth, before the 15-acre RPLF area was used as a landfarm, the area had been

used since the early days of the refinery as a landfill for the disposal of refinery wastes.




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                          Attachment 1
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     A.J. Gravel
     Senior Managing Director - Forensic and Litigation Consulting
     aj.gravel@fticonsulting.com




6903 Rockledge Drive         PROFESSIONAL SUMMARY
Suite 1200
Bethesda, MD 20817           Mr. Gravel is a Senior Managing Director in FTI Consulting’s Forensic Litigation and Consulting
Tel: (301) 214-4188          segment and he heads Forensic History and Analysis group. Mr. Gravel is based in the
Fax: (301) 564-2994
                             Washington DC area and has over twenty years combined experience as a consultant and expert
                             witness. He has managed the execution of over 100 environmental, products liability, and litigation
                             support projects and has provided testimony in both the expert and 30(b)(6) contexts.
Professional Affiliations
American Society of          Mr. Gravel’s primary areas of expertise include forensic history and environmental cost analysis.
Environmental History        He has experience assisting clients with the recovery of costs under CERCLA and in that area has
                             provided services such as: Potentially Responsible Party (PRP) identification; site history
National Council on Public
                             reconstruction; corporate succession and asset searches; waste-in database development and
History (NCPH)
                             cost allocation analysis; cost claim package development and/or validation; National Contingency
Environmental Law            Plan (NCP) analysis; and environmental liability estimation. Mr. Gravel has also used forensic
Institute                    history and cost analysis techniques to address issues in other environmental, toxic tort and
American Bar Association
                             products liability matters. Examples of the types of analyses conducted relating to these matters
(Associate Member,           includes: past industrial waste generation and disposal; Natural Resource Damages (NRD)
Environment and Natural      baseline investigations; mergers and acquisitions due diligence analysis; land use and business
Resources Section)           operation histories; insurance archeology; and alternate causation, standard-of-care state-of-
                             knowledge, industry practices, level-of-awareness; government involvement and regulatory
                             development and regulatory oversight studies.
Education
B.S. in Health Sciences,
                             Mr. Gravel’s experience includes work in a variety of industries including but not limited to: mining
Springfield College,
Springfield, MA
                             and smelting; petroleum refining; chemicals; shipbuilding, ship conversion and scrapping; industrial
                             manufacturing; and aircraft engine overhaul industries among others. Mr. Gravel has worked on
Masters Degree in            cases national and international in scope and multi-jurisdictional cases. His work is performed for
International Business       a diverse clientele that includes private and public sector entities and joint defense groups.
Management, University
of Maryland, University
                             PUBLICATIONS
College

                             Lisa Walsh and A.J. Gravel, A. Quantifying Environmental Liabilities in the Bankruptcy Context,
                             Pratt's Journal of Bankruptcy Law, February/March 2009.

                             “Site History: The First Tool of the Environmental Forensics Team," in Introduction to
                             Environmental Forensics, Academic Press, 2001. Written in conjunction with Dr. Shelley Bookspan
                             and Julie Corley. This book was updated in 2006 and the 2nd edition was released in 2007 and is
                             in use as part of the university environmental forensic curricula at University of Wales and Queen's
                             University of Brighton in the United Kingdom, as well as at North Carolina State University.
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                                                                                               A.J. Gravel


          REPRESENTATIVE ENGAGEMENTS

          Expert and 30(b)(6) Witness Assignments

          Betty Jean Cole, et al. v. ASARCO Incorporated et al. and Sammy Beets, et al. v. Blue Tee Corp.
          et al. Mr. Gravel was retained to conduct historical research, perform related analysis and present
          opinions relating to the federal government’s involvement in mining, milling and related activities in
          the Picher Field; historical mining and milling operations of the corporate predecessors of Blue Tee
          Corporation and Gold Fields American Industries in the Oklahoma portion of the Tri-States Mining
          District; chat generation and use as a salable product; and the role of municipal entities in the
          dispersal of chat throughout the Picher Field.

          The Quapaw Tribe of Oklahoma (O-Gah-Pah) v. Blue Tee Corporation, et al. Mr. Gravel was
          retained to conduct historical research, perform related analysis and present opinions regarding
          the federal government’s involvement in mining, milling and related activities in the Picher Field; its
          involvement with, and awareness of, mine and surface cave-ins and collapses over time; and the
          historic operations of the defendants alleged predecessors in the Picher Field.

          New York State Gas & Electric Corporation v. FirstEnergy Corp. Mr. Gravel was retained to
          conduct historical research, perform related analysis and to present opinions related to the
          development and roles of certain public utility holding and management service companies as they
          related to the operational management of eighteen (18) manufactured gas plants located in the
          State of New York.

          The Quapaw Tribe of Oklahoma (O-Gah-Pah) v. Blue Tee Corporation, et al. Mr. Gravel was
          retained to provide 30(b)(6) testimony on the historical mining and milling operations of the
          corporate predecessors of Blue Tee Corporation and Gold Fields American Industries in the
          Oklahoma portion of the Tri-States Mining District as well as corporate knowledge and awareness
          of certain other topics relating to potential NRD issues.

          Moraine Properties, LLC v. Ethyl Corporation Mr. Gravel was retained to provide opinions
          relating to whether the plaintiff undertook reasonable operational practices with regard to its
          management of wastewater treatment sludge, including identifying and addressing PCB issues;
          and whether the response actions taken and associated environmental costs incurred by the
          plaintiff were necessary costs of response incurred in substantial compliance with the applicable
          requirements of the NCP and resulted in a CERCLA-quality cleanup. Mr. Gravel was also retained
          to examine Ethyl Corporation’s historical operations as they related to a paper mill site and provide
          30(b)(6) testimony on specific topics relating to those operations.

          Evansville Greenway and Remediation Trust v. Southern Indiana Gas and Electric Company, Inc.,
          et al. Mr. Gravel was retained to provide opinions relating to whether the response actions
          performed, and associated costs incurred by the plaintiff, were in substantial compliance with the
          applicable requirements of the National Contingency Plan (NCP) and resulted in a CERCLA-quality
          cleanup.

          Innis Arden Golf Course v. Pitney Bowes, Inc. et al. Mr. Gravel was retained to provide opinions
          relating to whether the response action and associated costs incurred by the plaintiff were in
          substantial compliance with the applicable requirements of the National Contingency Plan (NCP)
          and resulted in a CERCLA-quality cleanup.

          Price v. Price. Mr. Gravel was retained to evaluate the cost impacts of a United States
          Environmental Protection Agency (USEPA) Consent Judgment (CJ) for a landfill in New York, and
          to determine the effect of the pending CJ on the ability to perform a valuation of the landfill.




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                                                                                                 A.J. Gravel



          BNSF Railway Company v. The Doe Run Resources Corporation, et al. Mr. Gravel was retained
          to provide opinions on the regulatory development of the Hazardous Materials Transportation Act
          as it related to the transport of specific commodities; the nature and extent to which lead-
          containing materials were used by the railroad in the course of its operations over time, and
          identification of anthropogenic sources of lead that could have potentially contributed to
          contamination along tracks and in rail yards.

          Jersey City Municipal Utilities Authority v. Honeywell International, Inc. Mr. Gravel was retained to
          present opinions relating to the historic operations of the Jersey City municipal Authority and
          Jersey City Incinerator Authority from 1910 to the present and environmental cost allocation.

          In re: Dana Corporation, et al. In this bankruptcy proceeding, Mr. Gravel was retained to perform
          several analyses including, 1) the Federal government's historic role in the operations of a former
          capacitor manufacturing facility and its potential contribution to contamination for which cleanup
          costs were claimed; 2) the quantification of environmental response costs and evaluation of
          indirect and oversight costs and discount rates; 3) the quantification the NRD Trustees' claim; and
          4) environmental cost allocation analysis to develop the Debtor's net cost share percentage of
          claimed costs. Mr. Gravel also provided 30(b)(6) testimony in this matter.

          Perrine et al. v E.I. DuPont de Nemours and Company et al. Mr. Gravel was retained to provide
          opinions relating to historical operations of the facility and the identification of anthropogenic
          sources that may have contributed to contamination in the class area over time.

          Tonya Lee Drummond et al. v. E.I. DuPont de Nemours and Company et al. Mr. Gravel was
          retained to provide opinions relating to historical standard-of-care and the appropriateness of
          landfill practices with regard to disposal of smelting residues.

          Disabled in Action of Pennsylvania v. Southeastern Pennsylvania Transportation Authority Mr.
          Gravel was retained to conduct an investigation and render an opinion relating to the history,
          development, growth and character of land use in the Penn Center & Suburban Station area of
          downtown Philadelphia for the period 1890 through 2005.

          Bill and Jackie Holder, et al. v. Gold Fields Mining Corporation, et al Mr. Gravel was retained to
          conduct a historical investigation and render opinions relating to mining and milling techniques; the
          role and influence of the Federal government on mining activities and methods; whether chat,
          tailings and other mining by-products were/are saleable products that possess commercial value;
          the state of knowledge relating to the toxic effects of lead in chat, tailings and surface dust; the role
          of local State and Federal public works projects in the dispersal of chat in the Tri-State District; and
          the total amount of crude ore mined by the defendants' alleged predecessors as a percentage of
          the total production for Ottawa County.

          Jimmy Dale Palmer and Teresa Palmer, v. ASARCO Incorporated, Inc., et al. Mr. Gravel was
          retained to conduct a historical investigation and render opinions on mining and milling techniques;
          the role and influence of the Federal government on mining activities and methods; whether chat,
          tailings and other mining by-products were/are saleable products that possess commercial value;
          and the state of knowledge relating to the toxic effects of lead in chat, tailings and surface dust.

          Trenton Herd et al. v. ASARCO Incorporated, Inc., et al. Mr. Gravel acted as a 30(b)(6) witness
          testifying as a company representative. In this capacity, Mr. Gravel provided testimony in several
          areas relating to the companies historic mining operations and practices on both restricted and
          unrestricted Indian lands located in Ottawa County, Oklahoma, dating from the 1890's.




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                                                                                             A.J. Gravel


          Forensic History and Environmental Cost Analysis

          Working on behalf of a major communications industry client, Mr. Gravel directed the analysis of
          facility operations, response costs and development of a cost claim package supporting a
          CERCLA cost recovery claim of over $100 million. The work involved documenting historic facility
          operations and cleanup activities; assessing the appropriate response costs to be claimed
          (consistent with the NCP); documenting claimed costs both at the summary and detail level; and
          assisting the client by determining allocated shares for the parties involved in the case.

          Working on behalf of a petroleum industry client, Mr. Gravel directed a large Federal government
          involvement project encompassing eight facilities. Work included determining the extent to which
          the Federal government was involved in the construction and/or operations of the facilities during
          World War I, World War II, the Korean War; establishing the historical fact basis and Federal nexus
          for each site; overseeing the development of past and future remedial cost estimates; validating a
          response costs for the claim; ensuring claimed costs were consistent with the NCP for recovery
          purposes; developing a cost allocation using time temporal and production-weighted approaches;
          and assisting with claims preparation and negotiations between the client and Federal government.

          Working on behalf of the Debtor in the bankruptcy context, Mr. Gravel acted as one of project
          team's key leaders performing environmental claims (response costs and NRD) estimation for a
          matter where environmental claims exceeded $6 billion. Mr. Gravel's primary work on this matter
          involved management of the case team and acting as liaison between Debtor's counsel, Debtor
          and outside counsel; conducting analysis of NRD claims; conducting analysis and developing
          debtor cost share percentages for specific sites; assisting in the development of expert and
          rebuttal reports and supporting the testifying experts.

          Working on behalf of a PRP Group, Mr. Gravel managed the execution of an investigation focused
          on the identification of PRPs contributing to sediment contamination on a waterway located the
          Midwestern United States. The work performed was related to a Natural Resource Damages
          (NRD) claim brought by federal and state NRD trustees including, the U.S. Fish and Wildlife
          Service and the State of Ohio. Mr. Gravel developed and executed a research plan that
          documented the contribution of a number of parties to the contamination present in the sediments
          and assisted in obtaining information useful in conducting a baseline determination to support a
          habitat equivalency analysis (HEA). His particular emphasis involved documenting the nexus of a
          number of entities that operated on, or in close proximity to, the waterway by examining various
          contaminant pathways relating to specific historic operations. He also assisted in the development
          of a cost allocation framework to facilitate settlement among the parties.

          Working on behalf of a joint defense group, Mr. Gravel developed and executed a work plan aimed
          at identifying contributors to TCE contamination in a groundwater plume located in California. Mr.
          Gravel worked with Common Counsel to establish and execute a work plan that examined a
          number of industries and specific industrial plants in an attempt to document both the use of TCE
          by the target entities and specific releases or operations practices that may have resulted in
          contribution to the contamination by these entities. Research involved the review of federal, state
          and local records and records relating to specific target entities as well as certain manufacturing
          processes employed by those entities.

          Working on behalf of a PRP Group, Mr. Gravel managed the execution of an investigation focused
          on the identification of PRPs contributing to sediment contamination on a waterway in the
          northwestern United States. Mr. Gravel developed and executed a research plan that documented
          the contribution of a number of parties to the contamination. His emphasis involved documenting
          the operations of a number of Federal entities on the waterway and developing nexus packages for
          certain Federal entities. He was also involved in initial efforts aimed at examining cost allocation
          issues and securing the participation of the Federal entities through the Department of Justice.




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                                                                                              A.J. Gravel


          Working on behalf of a large manufacturing client, Mr. Gravel developed a work plan and managed
          the execution of an extensive PRP investigation aimed at identifying parties contributing to PCB
          contamination of a waterway in the Midwestern United States. He directed an investigation
          examined a number of industries and entities and provided counsel with detailed information on a
          number of parties. The investigation focused on a number of specific issues such as the historic
          use of PCBs by specific entities in specific processes or equipment. Research included federal and
          state repositories, historical societies, local repositories and specialized private and industrial
          collections.

          Working on behalf of Dade County, Florida, Mr. Gravel acted as a consulting expert in support of a
          cost recovery action against the United States for TCE contamination at Miami International
          Airport. Mr. Gravel assisted Counsel with developing and implementing a discovery plan; managed
          the execution of a research effort aimed at documenting the Federal government's involvement at
          Miami International Airport over time; interviewed and assisted with witness preparation for trial;
          provided research and related support to expert witnesses and provided assistance with the
          development of trial exhibits and other materials.

          Working on behalf of a large private manufacturing client, Mr. Gravel developed and executed a
          work plan aimed at identifying contributors to the contamination of a river located in New England.
          Mr. Gravel worked with Counsel examining a number of industries and specific industrial plants
          along the river to document the potential contribution of these plants to the PCB and other
          contamination. Research involved the review of federal, state and local records and records
          relating to specific entities located along the river as well as certain manufacturing processes
          employed by those entities.

          Working on behalf of a PRP Group, Mr. Gravel managed the execution of a PRP search involving
          a large multi-parcel multi-use landfill site located in the Midwest. Mr. Gravel and his team
          conducted historical research and interviewed witnesses in order to develop a baseline historical
          operations report for the sites and to identify generator and transporter PRPs. Mr. Gravel also
          supervised the development of a transactional database based on manifests, invoices and other
          data which was used as the basis for the development of an interim cost allocation; he coordinated
          the establishment of a document repository to house the Group's records relating to the sites; and
          he worked with the Group on other related allocation process and investigations issues.

          Working on behalf of a major transportation company, Mr. Gravel managed a PRP investigation
          involving an oil recycling facility that operated from approximately 1950 to 1965. The work
          performed involved directing research, including National Archives military records, state and local
          agency records, historical society archival sources, library records, and the like. Identified several
          PRPs and witnesses not previously named by U.S. Environmental Protection Agency. Also,
          directed witness location and interview process to obtain oral histories. In addition, compiled
          volumetric information from transactional data and examined waste volume ratios for federal
          entities vs. private parties in support of cost allocation efforts.

          Working on behalf of a major U.S. energy provider, Mr. Gravel managed the execution of a PRP
          search for a waterway in New York. The work performed involved developing a historical research
          and investigations work plan, overseeing the research at federal, state, local and private
          information repositories, identifying PRPs, conducting waste stream analysis, managing witness
          identification, location and interviewing and developing PRP profiles to be presented to the U.S.
          EPA on behalf of the client. Mr. Gravel also oversaw the development of a database that includes
          PRP profiles as well as waste-in data that will ultimately be used to apportion responsibility among
          parties on the waterway.




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                                                                                               A.J. Gravel


          Working on behalf of a joint defense group comprised of electric utilities, Mr. Gravel managed the
          execution of several research efforts aimed at assisting the Group with the collection of EPA and
          Congressional materials related to the development, implementation and enforcement of the Clean
          Air Act, and, specifically New Source Review (NSR). The work involved commenting on the
          method proposed by EPA for producing documents responsive to the defendant's discovery
          requests and conducting research in various archives and Federal and State government
          repositories to assist with the documentation of the program's history and implementation and the
          Federal government's role in its development and enforcement.

          On behalf of an aircraft engine manufacturer and real estate development company, Mr. Gravel
          managed a historical investigation aimed at identifying the source of Trichloroethylene (TCE)
          contamination at a former Army Air Force flight training facility. The work performed included,
          developing the research work plan and directing the research team at the National Archives,
          several defense agency facilities, and private repositories. He also analyzed the information
          collected and developed a written report of his team's findings documenting the historical use and
          discharges of TCE at the facility over time.

          Products Liability and Toxic Torts

          Working on behalf of a historic manufacture lead-based paint and paint pigments, Mr. Gravel
          directed and investigation of alternate causes of potential lead contamination in certain cities in the
          Midwest United States. He and his team conducted research and analyzed data relating to historic
          operations, products, distribution locations and other related topics.

          Working on behalf of a large private equity firm, Mr. Gravel managed the development of an
          estimate of potential future liabilities relating to a company's historic manufacture lead-based paint
          and paint pigments. The evaluation involved the estimation of liabilities primary related to lawsuits
          alleging personal injury and nuisance brought in approximately 10 states.

          Working on behalf of a tire and rubber manufacturer, Mr. Gravel assisted in the development and
          execution of a litigation discovery plan aimed at assisting litigation counsel with the identification,
          harvesting and analysis of company materials potentially relevant to a number products liability
          lawsuits filed in various jurisdictions. This work involved developing identification and review
          protocols, establishing triage and detailed review teams and coordinating with vendors to conduct
          “plant sweeps" at four plant facilities. He also developed the protocols for and managed the
          reproduction, OCR, bibliographic and subjective coding processes; and ensured that regional
          Counsel located across the U.S could upload the materials to a secure on-line repository for use in
          specific cases.

          Working on behalf of an industry joint defense group, Mr. Gravel managed a multi-state product
          liability investigation project. The project involved consulting on the development of a discovery
          plan; coordinating the work of several project managers and dozens of researchers developing
          historical state-of-awareness information using a variety of sources; coordinating the review of both
          hard copy and electronic data including the review of 250,000 e-mails; and overseeing the
          development and implementation of a data management system containing over 1 million records.




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